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JOHN MACK EDWARDS JUDGMENT IN A CIVIL CASE
VS
CITY OF COVINGTON, TENNESSEE,

and RUSSELL BAILEY, in his
capacity as Mayor therof. CASE NO: 04-2689 Ml/V

 

This action having been dismissed by the parties:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the
Stipulated Order cf Dismissal With Prejudice filed August q ,
2005, this case is DISMISSED with prejudice.

APPROVED:

\MM

JOl\j`Pl-IIPPS MCCALLA

 

UNI ED STATES DISTRICT COURT

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Honorable J on McCalla
US DISTRICT COURT

